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                                                                      FILED IN THE
                                                             UNITED STATES DISTRICT COURT
 KENil M. PRICE # 10523                                           DISTRICT OF HAWAII        JT
                                                              Oct 1, 2020, 2:38pm
 United States Attorney                                      Miche lle Rynne, C lerk of Court

 District of Hawaii

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 UNITED STATES OF AMERICA

                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF HAWAll

 CIVIL BEAT LAW CENTER FOR               )   MISC. NO. 20-00343 LEK-WRP
 THE PUBLIC INTEREST,                    )
                                         )   UNITED STATES' RESPONSE TO
                     Objector,           )   MOTION TO UNSEAL COURT
                                         )   RECORDS; CERTIFICATE OF
      vs.                                )   SERVICE
                                         )
 HAWAII PARTNERS, LLC,                   )
                                         )
                     Interested Party,   )
                                         )
 UNITED STATES OF AMERICA,               )
                                         )
                     Interested Party.   )
 ~~~~~~~~~)
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                       UNITED STATES’ RESPONSE
                  TO MOTION TO UNSEAL COURT RECORDS

       The United States of America respectfully submits this response to the

 pending motion of Civil Beat Law Center for the Public Interest (hereinafter “Civil

 Beat”).

       1. Although styled as a “motion to unseal court records,” Civil Beat’s

 motion makes a more measured request. It begins by noting that “the record does

 not reflect that the sealing in these cases would comply with the standards for

 sealing court records” and that “[i]f there is a compelling reason for sealing these

 records in their entirety, it must be stated in findings on the record.” Mot. at pp.

 1-2. The motion then requests that the Court “(1) evaluate the continuing need to

 conceal these records in light of the relevant standards for access; and (2) unseal

 the files or provide an appropriate explanation for continued sealing.” Id. at 2.

       In light of the Superseding Indictment that was recently unsealed in Cr. No.

 19-00099-DKW, the United States agrees that it is appropriate for the Court to

 evaluate the continuing need for sealing. Moreover, the United States generally

 does not oppose the unsealing of filings made as part of the Rule 41 proceeding at

 issue. Nonetheless, given the nature of this case—involving substantial amounts of

 grand jury material, sensitive witness information, and, as described below, an

 ongoing criminal investigation—the United States requests a period of time to

 review each of the filed documents and attachments in this case, and to propose


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 redactions to those documents, before any documents are publicly docketed.

 Given the COVID-19 pandemic and efforts that the U.S. Attorney’s Office has

 undertaken to limit the number of staff who are required to be physically present in

 the office at any time, the United States requests that it be given a period of four

 months—through a date in February 2021—to complete its review of the Court

 records and to propose redactions. A period of four months to review the Court’s

 file will ensure that the United States is able to carefully and safely review the files

 before they are docketed publicly.1

       2. Although the United States does not generally oppose the unsealing of

 filings in the Rule 41 proceeding, it would oppose the unsealing of one such

 document. During the course of the Rule 41 proceeding, the United States

 requested permission to make—and did make—an ex parte submission that was

 not provided to Hawaii Partners, LLP. That document was filed under seal on

 February 8, 2019. It should remain under seal for three reasons.



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   In light of the United States’ agreement that the materials in the Rule 41
 proceeding generally can be unsealed at this time, there is no need to resolve
 whether it is necessary to provide a reason for continued sealing. The United
 States notes, however, that the only case Civil Beat cites in support of its argument
 that “the constitutional [First Amendment] right attaches specifically to
 proceedings concerning motions to return property seized through warrants,” Mot.
 at p. 6, is a Ninth Circuit panel opinion that was vacated and that the Ninth Circuit
 ordered should not be cited as authority. See United States v. Comprehensive Drug
 Testing, Inc., 545 F.3d 1106 (Sept. 30, 2008) (order) (“The three-judge panel
 opinion shall not be cited as precedent by or to any court of the Ninth Circuit.”).


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       First, the United States here represents that the criminal investigation into

 the murder of Johnathan Fraser is active and ongoing. While it is true that

 Defendant Michael J. Miske, Jr., already has been indicted, Miske was not the only

 person involved in the commission of those crimes. Indeed, the Superseding

 Indictment itself makes this clear: it charges Miske with, among other things,

 conspiring with others to commit the kidnapping and murder of Fraser. As

 suggested by the Superseding Indictment itself, the United States represents that

 the investigation of Miske’s co-conspirators in planning and carrying out the

 kidnapping and murder of Fraser remains ongoing and is not complete.

       Second, the February 8, 2019 ex parte submission describes information

 protected by Rule 6(e) of the Federal Rules of Criminal Procedure and sensitive

 witness and informant information. These are the same reasons that weighed in

 favor of not providing the ex parte submission even to Hawaii Partners, LLC,

 during the Rule 41 proceeding. The reasons remain compelling. Indeed, given

 that the ex parte submission relates to a still-ongoing criminal investigation, it

 would be especially improper to make the submission public.

       Third, the unsealing of the remainder of the materials in the Rule 41

 proceeding will ensure that the public receives sufficient information about the

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 proceeding. There is no need to imperil grand jury secrecy or place witnesses or

 an ongoing investigation at risk to accomplish that objective.

       DATED: October 1, 2020, at Honolulu, Hawaii.

                                        Respectfully Submitted,

                                        KENJI M. PRICE
                                        United States Attorney
                                        District of Hawaii


                                             /s/ Micah Smith
                                        By ______________________________
                                           MICHAEL NAMMAR
                                           MICAH SMITH
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                                           Attorneys for Plaintiff
                                           UNITED STATES OF AMERICA




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                           CERTIFICATE OF SERVICE

       I hereby certify that, on the dates and by the methods of service noted below,

 a true and correct copy of the foregoing was served on the following at their last

 known addresses:

 Served Electronically through CM/ECF:

       Robert Black, Esq.
       Attorney for Objector
       CIVIL BEAT LAW CENTER FOR THE PUBLIC INTEREST

       Randall Hironaka, Esq.
       Attorney for Interested Party
       HAWAII PARTNERS, LLC

       DATED: October 1, 2020, at Honolulu, Hawaii.


                                                          /s/ Dawn Aihara
                                                     ______________________
